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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                                CASE NO. 24-14012-CR-CANNON

  UNITED STATES OF AMERICA,

                 Plaintiff,

  vs.

  ADAM MARC TWINLEY,

              Defendants.
  ____________________________________/

        OMNIBUS ORDER SETTING TRIAL DATE AND ESTABLISHING PRETRIAL
                 INSTRUCTIONS AND SENTENCING PROCEDURES

           This case is hereby set for a Criminal Jury Trial at Alto Lee Adams, Sr. United States

  Courthouse, 101 South U.S. Highway 1, Courtroom 4008, Fort Pierce, Florida 34950, during the

  two-week period commencing June 3, 2024, or as soon thereafter as the case may be called. A

  Calendar Call will be held at 1:45 p.m. on Tuesday, May 28, 2024, at the same location. Any

  testing of electronic equipment to be used at trial must take place at the Calendar Call. To that

  end, the parties are directed to bring to the Calendar Call any equipment intended for use at trial.

  All pre-trial motions and motions in limine must be filed by Friday, May 3, 2024. Each party is

  limited to filing one motion in limine; if there is more than one Defendant, Defendants shall file a

  combined motion unless a clear conflict of position exists, in which case the parties shall explain

  that conflict in their individual motions. Motions in limine may not, without leave of the Court,

  exceed the page limits allowed by the Rules, and they must state with particularity the evidence at

  issue and the legal and factual basis relevant to disposition of the motion.

         It is further ORDERED as follows:
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     1. All requests for Writs ad Testificandum must be filed no later than 14 business days prior

        to the first day of the scheduled trial period.

     2. In accordance with Local Rule 88.5, the parties shall file speedy trial reports every

        twenty-one (21) days following entry of this Order until the time of trial or plea.

     3. All responses pursuant to the Standing Discovery Order and/or Local Rule 88.10 shall be

        provided in a timely fashion in accordance with the dates scheduled by the magistrate

        judge. Noncompliance with the Standing Discovery Order, the Local Rules, or the Federal

        Rules of Criminal Procedure may result in sanctions. Any notice submitted pursuant to

        Federal Rule of Evidence 404(b) must be filed as a motion—not as a notice—and must

        identify with particularity the evidence to be introduced and the factual and legal

        basis supporting admission. Responses to such motions are due in accordance with

        the standard timing set forth in Local Rule 7.1(c).

     4. To the extent required by Local Rule 88.9(a), all motions shall be accompanied by a written

        statement certifying that counsel for the moving party has conferred with opposing counsel

        in a good faith effort to resolve by agreement the subject matter of the motion.

     5. Prior to Calendar Call, each party may file on CM/ECF no more than 5 proposed voir

        dire questions (including any sub-parts) for the Court to consider asking of the venire.

        Failure to timely file proposed voir dire questions as set forth in this Order will preclude a

        party’s insistence on requesting such questions be asked by the Court except as

        determined by the Court. The Court will not permit the backstriking of jurors.

     6. Prior to Calendar Call, the parties shall file their proposed jury instructions and verdict

        form, in a single joint filing, on CM/ECF. In addition to filing the joint jury instructions

        and verdict form on CM/ECF, the parties shall submit that filing, in Word format, via e-



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        mail to cannon@flsd.uscourts.gov, proposed jury instructions, including substantive

        charges and defenses, and a proposed verdict form. For instructions on filing proposed

        documents, please see http://www.flsd.uscourts.gov. Although the parties need not

        agree on each proposed instruction, the parties shall submit their proposed jury

        instructions and verdict form jointly, and every instruction must be supported by

        citation to authority. Where the parties do not agree on a proposed instruction, the

        instruction shall be set forth in bold type. Instructions proposed only by the Government

        shall be underlined. Instructions proposed solely by the defense shall be italicized.

        Furthermore, the parties should identify, as to each proposed jury instruction, whether the

        proposed language conforms to the Eleventh Circuit Pattern Jury Instructions. If a

        proposed instruction deviates from the Pattern Jury Instructions in any respect, such

        alteration should be made clear in the filing with a supporting explanation. To access

        the latest changes to the Eleventh Circuit’s Pattern Jury Instructions, please see

        https://www.ca11.uscourts.gov/pattern-jury-instructions.

     7. Prior to Calendar Call, all counsel shall file on CM/ECF lists of proposed witnesses

        and/or exhibits to be presented at trial. All exhibits to be offered into evidence must be re-

        labeled in accordance with the proposed exhibit list. (Government exhibits are to be

        designated as GX1, GX2, etc.; defense exhibits as DX1, DX2, etc.). Counsel should

        take care to ensure that exhibits are not compound—that is, that each document, to the

        extent practicable, is identified and marked individually.

     8. Additionally, no later than the first day of trial, the Government shall provide the Court

        with a tabbed binder containing copies of all proposed Government exhibits corresponding

        to the Government’s filed exhibit list.



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        9. Any change of plea must be taken prior to 5:00 p.m. on the last business day before

            trial is scheduled to begin. See, e.g., United States v. Gamboa, 166 F.3d 1327, 1331 (11th

            Cir. 1999).

        10. Any motion for a continuance of trial shall (1) set forth in detail which factors constitute

            grounds for a continuance; and (2) indicate whether the reasons served by granting the

            continuance outweigh the defendant’s constitutional and statutory rights to a speedy trial.

        11. The filing by counsel of a “Notice of Unavailability” by motion or otherwise is not

            provided for under the local rules and shall not be presumed to modify or alter the Court’s

            scheduling order.

        12. If any party seeks to introduce transcript(s) at the trial, that party shall exchange those

            transcripts with all counsel prior to Calendar Call. If a transcript cannot be agreed upon,

            each party shall be prepared to produce its own version for the trier of fact.

        13. All anticipated Jencks Act 1 material shall be turned over to defense counsel no later than

            the morning of the first day of trial. The material shall include a face sheet for defense

            counsel to sign and date, acknowledging receipt. For purposes of the record, the signed

            face sheet must be filed by the government on CM/ECF no later than seven (7) days after

            the conclusion of the trial.

        14. Upon receipt of this Order, defense counsel shall certify with the Court’s courtroom deputy

            whether the Defendant requires the aid of an interpreter. The parties are further instructed

            to notify the Court, at least 24 hours prior to any hearings or trial, if an interpreter is

            required.




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      18 U.S.C. § 3500

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     15. Arrangements for appropriate clothing for defendants in custody must be made with the

        Bureau of Prisons at least seven (7) days prior to the scheduled trial date.

     16. Local Rule 7.1(a)(2) requires that certain motions be accompanied by proposed orders;

        such proposed orders must be filed as attachments to the motions. Furthermore, pursuant

        to the CM/ECF Administrative Procedures, proposed orders shall be submitted to the Court

        by e-mail in Word format at cannon@flsd.uscourts.gov.

     17. Pursuant to Local Rule 5.3, and consistent with the Eleventh Circuit’s Local Rules and

        Internal Operating Procedures, see 11th Cir. R. 11-3, within ten (10) days of the conclusion

        of a trial or other proceeding, the parties must file via CM/ECF electronic versions of

        documentary exhibits that the party offered or introduced into evidence, including properly

        labeled photographs of non-documentary physical exhibits. The parties are reminded to

        review each of the requirements set forth in Local Rule 5.3, including the requirement to

        redact certain information and to certify compliance with Local Rule 5.3.

     18. Should this matter proceed to sentencing, the parties are advised to adhere to the following

        procedures:

            a. If more than thirty (30) minutes is needed for the hearing, counsel shall file a notice

                estimating the amount of time needed for their presentation and the number of

                witnesses to be called no later than seven (7) calendar days prior to the sentencing

                hearing.

            b. The Court further orders, consistent with Rule 32 of the Federal Rules of

                Criminal Procedure, that counsel shall file their Objections, if any, to the

                DRAFT PSR within fourteen (14) days after disclosure of the DRAFT PSR.

                The opposing party must file a response no later than seven (7) days thereafter.



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           c. The Court has discretion not to consider the merits of untimely objections.

               See, e.g., United States v. Edouard, 485 F.3d 1324, 1351 (11th Cir. 2007); Fed. R.

               Crim. P. 32(b)(2) and (i)(1)(D); United States v. Smith, 522 F. App’x 564, 565 (11th

               Cir. 2013); United States v. Remaley, 646 F. App’x 719, 721 (11th Cir. 2016);

               United States v. Dossou, 569 F. App’x 902, 905 (11th Cir. 2014).

           d. The Court further orders that all motions for upward or downward departure and/or

               variance shall be in writing and filed at least ten (10) calendar days before the

               sentencing hearing. Responses shall be filed at least three (3) before the sentencing

               hearing. The United States is required to file a written response to any defense

               motion for variance or departure.

     19. Prohibition on Sealing without Court Approval and Notice on Protective Orders:

        Notwithstanding the requirements of Local Rule 5.4(c) and/or any protective order entered

        into in this case, parties are prohibited from filing anything under seal (other than fee

        applications pursuant to 18 U.S.C. § 3006A(e)(1)) unless they first seek and obtain

        permission from the Court via a motion for leave to file under seal. The motion for leave

        shall be filed publicly except in clear cases of security or risk to personal safety. The

        motion for leave shall specify the particularized basis for sealing the proposed material, the

        proposed duration of the seal request, and the reasons why partial sealing or redaction or

        means other than sealing are unavailable or unsatisfactory.            The party seeking

        authorization to seal material shall not file or otherwise attach the subject material

        until the Court has ruled on the motion for leave. Further, all parties are advised that

        mere designation of material as confidential and/or otherwise subject to a protective order

        does not supplant the requirements of the Local Rules on sealing and does not otherwise



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         relieve the party seeking sealing/redaction from justifying that request under applicable

         legal principles governing the presumption of public access to criminal proceedings. 2

         DONE AND ORDERED in Chambers in Fort Pierce, Florida, this 26th day of April 2024.



                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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    A protective order is an agreement between parties. It does not bind the Court. Nor does it
  displace background legal principles governing the public’s right of access under the common law
  and/or the First Amendment.
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